 

Case 1:17-cV-01387-BI\/|C-SI\/|G Document 8-2 Filed 05/01/17 Page 1 of 1 Page|D #: 48

; |NDEX NO: 17CV1387
STATE OF NEW YORK COUNTY OF?' n FlLED ONZ Nlarch 13, 2017

 

UNlTED STATES DISTRICT ',COURT . v DI_STRlCTZ , lEaSt<-Jrn/New YOrk
Devender Singh et al '
vs l . v - j . Plaintii`f(s)

Sunn Enterprises Group LLC et ana

 

 

Defendam(s)
STATE OF NEW YORK, COUNTY OF ALBANY, SS.: . ' AFFlDAVlT OF SERV|CE
BY THE SECRETARY OF STATE
Shayne Collen - 4 r, being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; that on _ ` Aprit 3, 2017 , at 3:10pm , at the office

 

of the Secretary of State of the State of New ¥ork in the City of Albany, New York, deponent served the annexed ’
Summons in a Civll Action & Complaint(Jury»Tn'al Demand)

,Ol'l

Sunn Enterprise Group LLC his/a Sunn Enterprises Group LLC

 

Defendant in this action, by delivean to and leaving with Sue Zouky , Authorized Agent, in the Office of
the Secretary of State of the _State of New York, personally at the Office of the Secretary of State of the State of New
York, two (2) true copies thereof and that at the time of making such service, deponent paid said Secretary of State

 

the statutory fee, if required. Service was made pursuantto Section 303 Limited Liability Company Law .

l:| Service was completed by mailng notice of such service and one (1) true copy thereof by [:I Registered or

l:l Certitied Nlail, # _ , Return Receipt Requested on

 

to sa_id defendant at:

 

Papers so served were properly endorsed with the inde)r number and date of filing.

Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Oflice of the

Secretary of State of the State of New York, duly authorized to accept such service on behalf of said defendant

    
 

Descn`ption pf the person served: Approx.Age: 40 Years Approx. weight 140 lbs Approx. Ht.: 5_§

Sex: "rFemale Color of skin: White Co|or of hair: Brown Other:

Sworn to before me on » Apn'l 5, 2017 ' w/§`//
» l /y/_'//%

“"ARCY |lenl/
NoTARv Pua ,state of New York
No. 4865530, Qualified in Albany County ` ~
Term Expire¢ Jury 14, 2018 - ln rce-W Order # 1701201

 

 

